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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  JOEL VANGHELUWE, ET AL.,              §
                                        §      2:18-cv-10542-LJM-EAS
              Plaintiffs,               §
                                        §
  v.                                    §      Hon. Laurie J. Michelson
                                        §
  GOTNEWS, LLC, ET AL.,                 §
                                        §      Mag. Elizabeth A. Stafford
              Defendants.               §

                       ORDER TO DISMISS
           LITA COULTHART-VILLANUEVA WITH PREJUDICE

       On this day came to be heard the request of Plaintiffs Joel and Jerome

 Vangheluwe that the claims asserted by Plaintiffs against Defendant Lita

 Coulthart-Villanueva in the above-styled and numbered cause be dismissed with

 prejudice to the re-filing of same for the reason that all matters of fact and things

 in controversy have been fully and finally compromised and settled by and

 between Plaintiffs and Defendant Lita Coulthart-Villanueva.

       The Court is of the opinion and finds that such request should be, in all

 things, GRANTED.

       IT IS THEREFORE ORDERED, ADJUDGED, and DECREED that the

 above-styled and numbered cause against Defendant Lita-Coulthart-Villanueva is

 hereby dismissed with prejudice to the re-filing of same or any part thereof.

       All costs of court are taxed against the party incurred same. All relief not
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 expressly granted herein is denied.

                                         s/Laurie J. Michelson
                                         LAURIE J. MICHELSON
                                         UNITED STATES DISTRICT JUDGE


  Date: August 7, 2019




                           CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was served upon
  counsel of record and/or pro se parties on this date, August 7, 2019, using the
  Electronic Court Filing system and/or first-class U.S. mail.


                                         s/William Barkholz
                                         Case Manager
